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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

       v.                                                      Criminal No. 18-00303
                                                                    TFH/DAR
JACKSON A. COSKO,

       Defendant.


                         MEMORANDUM OF FINDINGS OF FACT
                           AND STATEMENT OF REASONS IN
                          SUPPORT OF ORDER OF DETENTION

                                      I. INTRODUCTION

       Defendant is charged by indictment with making public restricted personal information, in

violation of 18 U.S.C. § 119 (Count One); identity theft, in violation of 18 U.S.C. §§ 1028(a)(7),

(b)(2)(B) (Count Two); computer fraud, in violation of 18 U.S.C. §§ 1030(a)(3), (c)(2)(A) (Count

Three); interstate threats, in violation of 18 U.S. C. § 875(d) (Count Four); witness tampering, in

violation of 18 U.S.C. § 1512(b)(3) (Count Five); second degree burglary, in violation of D.C.

Code 22-801(b) (Count Six), and unlawful entry, in violation of D.C. Code 22-3302(b). See

Indictment (ECF No. 6). The undersigned conducted a detention hearing on October 9, 2018.

       Upon consideration of the proffers and arguments of counsel, and the entire record herein,

the undersigned ordered Defendant held without bond pursuant to 18 U.S.C. § 3142(e). The

findings of fact and statement of reasons in support of the Order of Detention follow.

                                II. THE BAIL REFORM ACT

       The Bail Reform Act of 1984, 18 U.S.C. § 3141, et seq., provides, in pertinent part, that if

a judicial officer finds by clear and convincing evidence that “no condition or combination of
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conditions will reasonably assure . . . the safety of any other person and the community, such

judicial officer shall order the detention of the [defendant] before trial.” 18 U.S.C. § 3142(e); see

also United States v. Henry, 935 F. Supp. 24, 25 (D.D.C. 1996) (citation omitted) (“If a defendant

poses a danger to society, the Court has a sufficient basis upon which to order pretrial detention.”).

        In instances in which pretrial detention is sought on the ground that there are no conditions

of release that will reasonably assure the defendant’s appearance, the government must show by a

preponderance of the evidence that the defendant poses a risk of flight if released before trial. See

United States v. Anderson, 382 F. Supp. 2d 13, 14 (D.D.C. 2005) (citations omitted) (“[T]he [Bail

Reform Act] provides for pretrial detention if the government establishes by a preponderance of

the evidence that the defendant is likely to flee before trial if released and that no condition or

combination of conditions will reasonably assure the appearance of the defendant as required.”).

        In determining whether there are conditions of release which will reasonably assure the

appearance of the person as required, and the safety of any other person and the community, the

judicial officer shall take into account the available information concerning: (1) the nature and

circumstances of the offense charged; (2) the weight of the evidence against the defendant; (3) the

defendant’s history and characteristics, and (4) the nature and seriousness of the danger to any

person or to the community which would be posed by the defendant’s release. 18 U.S.C. § 3142(g).


                                        III. DISCUSSION

        Both counsel for the government and counsel for the Defendant proceeded by proffer.

Counsel for the government, in the government’s proffer of evidence, principally relied upon its

written memorandum; thus, said memorandum is incorporated herein by reference.                    See

Government’s Memorandum in Support of Pretrial Detention (“Government’s Mem.”) (ECF No.

4).


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        Defendant, through counsel, requested that the undersigned release him on conditions. In

support, counsel for Defendant acknowledged that Defendant has two prior convictions, but argued

that the pending charges are not crimes of violence. The Pretrial Services Agency, in its report,

proposed conditions of release that it would deem appropriate for Defendant. Additionally,

counsel for Defendant proffered that Defendant’s father resides in California, and that he would

be willing to house Defendant should he be referred for the High Intensity Supervision Program.

Defendant, through counsel, stated that Defendant’s mother would be retiring soon and could stay

in the home with Defendant.



                                   IV. FINDINGS OF FACT

        Upon consideration of the facts enumerated at Section 3142(g) of the Act, the undersigned

finds that the government has shown by clear and convincing evidence that no condition of release

or combination of conditions would reasonably ensure the safety of the community.

        First, with respect to the nature and circumstances of the offenses charged, the undersigned

observes that Defendant has been charged with posting personal information with the intent to

intimidate a United States Senator, and a burglary of the office of another United States Senator,

among other offenses. Government’s Mem. at 6. Defendant allegedly made public the Senator’s

home address and other private personal and family information with intent that was described in

one of the posts as “malicious and hostile.” Id.

        Second, the undersigned finds that the weight of the evidence against Defendant is

compelling. Defendant was caught in the act of burglarizing the office of a United States Senator

by a witness who recognized Defendant immediately. The doxxing post that pertained to another

United States Senator was published from a workstation that was accessed using Defendant’s login



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credentials. See Government’s Mem., Exhibit 1. In addition, Defendant did not return to work

the day after the burglary, evidencing a consciousness of guilt.

        With respect to the third factor, the undersigned has taken into account the Defendant’s ties

to the community, as Defendant is a resident of the District of Columbia. The undersigned has

also taken into account the proffer of Defendant’s counsel that Defendant’s parents were prepared

to have him reside with either of them. However, in assessing this factor, the undersigned also has

considered that during the course of the pending charges, Defendant stated an intention to commit

further crimes of the same nature.

        Finally, the undersigned finds that a significant danger to the community would be posed

by Defendant’s release. Defendant has already been alleged to have committed acts that caused

great harm to certain individuals, and through his actions and “to-do list” of potential targets,

shown an intent to engage in witness tampering and otherwise harm others in the future.


                                        V. CONCLUSION

        On the basis of the foregoing findings of fact and reasons, Defendant will be held without

bond pursuant to the October 9, 2018 Order of Detention.




                                                              DEBORAH A. ROBINSON
                                                              United States Magistrate Judge

November 20, 2018
DATE


October 9, 2018
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